Case 6:14-cv-00105-RFD-CMH Document 16 Filed 04/14/15 Page 1 of 5 PageID #: 89




                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                  LAFAYETTE DIVISION

 CST PERFORMANCE PRODUCTS CORP.                         *       CIVIL ACTION NO. 14-0105

 VERSUS                                                 *       JUDGE DOHERTY

 ESP PETROCHEMICALS, INC.                               *     MAGISTRATE JUDGE HILL

                         REPORT AND RECOMMENDATION
                       ON MOTION FOR DEFAULT JUDGMENT

        Pending before the undersigned for report and recommendation is the Motion for

 Default Judgment filed by plaintiff, CST Performance Products Corp. (“CST”), on March

 12, 2015 [rec. doc. 13]. No opposition has been filed, and the deadline for filing

 opposition has expired.1

        For the following reasons, it is recommended that the motion be GRANTED.

                                              Background

        CST brought this suit on open account and for breach of contract and unjust

 enrichment/quantum meruit seeking judgment against defendant, ESP Petrochemicals,

 Inc. (“ESP”), in the amount of two hundred seventy-four thousand eight hundred forty-

 seven and 15/100 ($274,847.15) dollars (the “invoice amount”), together with legal




        1
         LR 7.5W provides that opposition shall be filed within twenty-one (21) days after service
 of the motion.
Case 6:14-cv-00105-RFD-CMH Document 16 Filed 04/14/15 Page 2 of 5 PageID #: 90




 interest from judicial judgment until paid, and for reasonable attorney’s fees and costs of

 these proceedings.

        CST is a Texas corporation doing business in the State of Louisiana, having its

 principal place of business in Conroe, Texas. ESP is a Louisiana corporation doing

 business in the State of Louisiana.

        Between January and April, 2013, CST sold and delivered merchandise, including

 drums and totes, to ESP. [Complaint, ¶ 5; rec. doc. 13, Exhibit A-1]. ESP entered into a

 Repayment Agreement with CST in April, 2014, to pay the sum of $274,847.15. [rec.

 doc. 13, Exhibit A-2, “Repayment Agreement”)]. The Repayment Agreement provides

 that ESP would incur a 10% late fee for any payment overdue by more than 10 days after

 the due date, and five percent (5%) interest and late fees from the original invoice date,

 plus current and future attorneys’ fees and costs. [Repayment Agreement, ¶¶ 1.3, 2.1].

        By email sent on September 26, 2013, CST made demand on ESP for the amount

 owed. [Complaint, ¶ 8]. Since October, 2013, CST, through its national counsel,

 William T.J. Salerno (“Salerno”), made numerous attempts to collect the debt from ESP.

 [rec. doc. 13, Exhibit B, Salerno Affidavit, ¶ 2].

        Because more than 15 days elapsed since the mailing of the demand, ESP became

 liable to CST for reasonable attorney’s fees and costs pursuant to the Repayment

 Agreement. [Complaint, ¶ 8]. As of the filing of the Motion for Default Judgment,

 Salerno’s law firm generated $13,145.00 in attorney’s fees. [rec. doc. 13, Salerno

 Affidavit, ¶ 5]. CST’s local counsel, Michael D. Fisse (“Fisse”), incurred fees in the
Case 6:14-cv-00105-RFD-CMH Document 16 Filed 04/14/15 Page 3 of 5 PageID #: 91




 amount of $6,367.50, in the prosecution of this action. [rec. doc. 13, Exhibit C, Fisse

 Affidavit, ¶ 7].

        Since the filing on this lawsuit on January 22, 2014, ESP has made partial

 payments to CST in the amount of $45,900.00, thereby reducing the principal invoiced

 sum now owed to CST to $228,947.15. [rec. doc. 13, Exhibit A, Affidavit of Robert R.

 Webber, CST Controller (“Webber Affidavit”), ¶ 7].

        On January 22, 2014, CST brought this lawsuit against ESP asserting diversity

 jurisdiction pursuant to 28 U.S.C. § 1332. ESP did not file an answer or other responsive

 pleading. On July 8, 2014, the Clerk of Court entered a default against ESP. [rec. doc.

 9].

        On March 12, 2015, CST filed the instant motion for default judgment. [rec. doc.

 13]. To date, ESP has not filed a response.

                                         Law and Analysis

        Rule 55 of the Federal Rules of Civil Procedure provides as follows:

        (a) Entering a Default. When a party against whom a judgment for
        affirmative relief is sought has failed to plead or otherwise defend, and that
        failure is shown by affidavit or otherwise, the clerk must enter the party's
        default.

        (b) Entering a Default Judgment.
                                              ***
        (2) By the Court. In all other cases, the party must apply to the court for a
        default judgment. ... If the party against whom a default judgment is sought
        has appeared personally or by a representative, that party or its
        representative must be served with written notice of the application at least
        7 days before the hearing. The court may conduct hearings or make

                                               3
Case 6:14-cv-00105-RFD-CMH Document 16 Filed 04/14/15 Page 4 of 5 PageID #: 92




        referrals--preserving any federal statutory right to a jury trial--when, to
        enter or effectuate judgment, it needs to:

        (A) conduct an accounting;

        (B) determine the amount of damages;

        (C) establish the truth of any allegation by evidence; or

        (D) investigate any other matter.

        Here, CST invoiced ESP $274,847.15 for merchandise ordered and delivered.

 After ESP failed to pay the invoice, CST filed suit. Since the filing of this action, ESP

 has made partial payments in the amount of $45,900.00, thereby reducing the debt to

 $228,947.15. [Webber Affidavit, ¶ 7].

        CST has submitted the requisite evidence supporting its claim for merchandise

 costs. ESP has had more than ample opportunity to pay this invoice, but has neither paid

 it nor responded to this lawsuit. Accordingly, I find that a default judgment should be

 entered.

        I have reviewed the affidavits attached to the Motion and I find the attorney fees to

 be reasonable.

                                             Conclusion

        Accordingly, IT IS RECOMMENDED that the motion for default judgment be

 GRANTED, and that CST be entitled the sum of $228,947.15, plus pre-judgment interest

 at the rate of 5% per annum from the date of judicial demand (January 22, 2014) until the

 date of Judgment, plus attorney’s fees in the amount of $19,512.50, plus post-judgment

                                               4
Case 6:14-cv-00105-RFD-CMH Document 16 Filed 04/14/15 Page 5 of 5 PageID #: 93




 interest at the rate set forth in 28 U.S.C. § 1961 from the date of Judgment until paid, as

 well as all costs of these proceedings.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.Civ.Proc.72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this Report

 and Recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party’s objections within fourteen (14) days after being served

 with a copy thereof. Counsel are directed to furnish a courtesy copy of any objections or

 responses to the District Judge at the time of filing.

        FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FACTUAL FINDINGS AND/OR THE PROPOSED LEGAL CONCLUSIONS

 REFLECTED IN THIS REPORT AND RECOMMENDATION WITHIN TEN (10)

 DAYS FOLLOWING THE DATE OF ITS SERVICE, OR WITHIN THE TIME

 FRAME AUTHORIZED BY FED.R.CIV.P. 6(b), SHALL BAR AN AGGRIEVED

 PARTY FROM ATTACKING THE FACTUAL FINDINGS OR THE LEGAL

 CONCLUSIONS ACCEPTED BY THE DISTRICT COURT, EXCEPT UPON

 GROUNDS OF PLAIN ERROR. DOUGLASS V. UNITED SERVICES

 AUTOMOBILE ASSOCIATION, 79 F.3D 1415 (5TH CIR. 1996).

            April 14, 2015, at Lafayette, Louisiana.
